Case 2:03-cr-20466-SH|\/| Document 129 Filed 07/14/05 Page 1 of 2 Page|D 142

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IN THE UNITED sTATEs DISTRICT COURT
FOR THE wEsTERN :DISTRICT oF TENNESSEE 05 JU{_ gl,, AH||: 03
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03-20466#Ma

VS.

RUDY E. BELTRAN,

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Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause Came on for a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., With a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § BlEl(h)(S)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT rs so onnERED this [3& day Of July, 2005.

j/,)//%.___

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DIS'I‘RICT JUDGE

 

Th`\s document entered on fha docket sheet in compliance
With Hu:e 55 and/or 32(b} FRCrP un q-'|$'-Q§

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This notice confirms a copy of the document docketed as number 129 in
case 2:03-CR-20466 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

